                                                                                 Motion GRANTED.
                                                                                 Hearing reset for
                                                                                 2/1/13 at 3:00 p.m.
                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
                  v.                         )       NO. 3:11-00E082-11
                                             )
JONAS HAYES                                  )       JUDGE TRAUGER
                         MOTION TO CONTINUE SENTENCING

       COMES NOW the United States of America, by and through Assistant United States

Attorney Sunny A.M. Koshy, and moves the Court to continue the defendant’s sentencing hearing

since the defendant’s cooperation is not yet complete.

                                             Respectfully submitted,

                                             JERRY E. MARTIN
                                             UNITED STATES ATTORNEY


                                     BY:       s/Sunny A.M. Koshy
                                             SUNNY A.M. KOSHY
                                             Assistant United States Attorney
                                             110 9th Avenue, South, Suite A961
                                             Nashville, TN 37203-3870
                                             Phone: (615) 736-5151

                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing Response was sent via the Court’s
electronic filing system this 26th day of October, 2012 to the following:

       David R. Heroux, Esq.
       Haymaker & Heroux, P.C.
       943 Main Street
       Nashville, TN 37206

                                              s/Sunny A.M. Koshy
                                             SUNNY A.M. KOSHY
                                             Assistant United States Attorney




Case 3:11-cr-00082        Document 1133          Filed 10/29/12   Page 1 of 1 PageID #: 3695
